                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:05CR256-10


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
MARK WAYNE ROSS,                                   )
                                                   )
                  Defendant.                       )
________________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a motion filed by the defendant entitled, “Motion for Order Allowing Defendant

to be Placed in Jail Based Drug Treatment Program” filed by the defendant. This request is

a matter that should first be presented to the United States Probation Office through a request

that the defendant be allowed to participate in the program. As a result, the undersigned has

determined to enter an order denying the motion without prejudice so that defendant’s

counsel can present her request to the United States Probation Office. If the request is

denied, then defendant’s counsel will be allowed to file another motion requesting a hearing

before the court regarding this issue. The request should show that defendant’s counsel has

consulted with the United States Probation Office and that the request has been denied and

the reasons for such denial.

                                          ORDER

       WHEREFORE, based upon the foregoing, the motion of the defendant is hereby

DENIED without prejudice.



      Case 1:05-cr-00256-MR-DLH           Document 299         Filed 08/01/06      Page 1 of 2
                                 Signed: August 1, 2006




                                 2

Case 1:05-cr-00256-MR-DLH   Document 299    Filed 08/01/06   Page 2 of 2
